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KENJI M. PRICE #10523
United States Attorney
District of Hawaii

SEAN VAN DEMARK #10288
Assistant U.S. Attorney

United States Attorney’s Office
District of Hawaii

Room 6-100, PJKK Federal Building
300 Ala Moana Boulevard

Honolulu, Hawaii 96850

Telephone: (808) 541-2850

Email: Sean. Van. Demark@usdoj.gov

IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,
Plaintiff,
V.
CHAD KAUHANE,

Defendant.

 

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MAG. NO. 19-+42-RT

CRIMINAL COMPLAINT;
AFFIDAVIT IN SUPPORT OF
CRIMINAL COMPLAINT

AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

I, the undersigned complainant, being duly sworn, state the following is true

and correct to the best of my knowledge and belief:

INTRODUCTION

Ls This affidavit is submitted for the purpose of establishing probable

cause that on or about September 24, 2019, within the District of Hawaii, Chad
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Kauhane (Kauhane) engaged in conduct that violated 18 U.S.C. § 1709, which
makes it a crime to steal or remove mail, or the articles within any mail, by an
employee of the United States Postal Service (USPS).

2 I am a Special Agent (SA) with the USPS Office of the Inspector
General (OIG) and assigned to the Pacific Area Field Office, and I have served in
this capacity since 2016.

3. J am familiar with the facts set forth in this affidavit based upon my
personal knowledge and/or information provided to me by other law enforcement
personnel and/or witnesses. This affidavit is intended to show merely that there is
sufficient probable cause for the criminal complaint charging defendant with a
violation of federal law. Accordingly, this affidavit does not set forth all of the
facts known to me or to the USPS OIG regarding this matter. Summaries and
statements from conversations do not include references to all topics covered in the
conversations. This affidavit is not intended to include each and every fact and
matter observed or known by the government.

PROBABLE CAUSE

4. Between December 2018 and September 2019, approximately 22
parcels suspected of containing marijuana went missing while in the possession of
the USPS. Prior to their disappearance, these parcels had been intercepted by

various Post Offices (P.O.) across Hawaii, placed in larger containers, and assigned
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new tracking numbers. The parcels were then mailed to the United States Postal
Inspection Services (USPIS) for further inspection, but went missing before they
arrived at the USPIS.

5. An analysis of the tracking history of the missing parcels revealed that
the thefts were likely occurring at the Small Parcel/Bundle Sorter (SPBS), Machine
#002, at the Honolulu P&DC where the parcels travelled while en route to the
USPIS. As such, an investigation began at the SPBS. Video surveillance was
installed above the bin at the SBPS containing parcels destined to the 96820 zip
code, where the USPIS is located. As a result of the surveillance, Kauhane became
the primary suspect.

6. The video surveillance at the SPBS captured an individual resembling
Chad Kauhane on seven (7) separate occasions as he removed parcels from the
96820 bin. Kauhane is a Mail Processing Clerk and had been employed in this
position since July 9, 1994.

de On September 24, 2019, USPS OIG agents were present at the SPBS
and observed Kauhane rifling through a parcel that he removed from the SPBS 002
96820 bin. That parcel was a Medium Flat Rate Priority Parcel bearing tracking
number 9505511481639263666361 (the Medium Flat Rate Priority Parcel).

Agents observed Kauhane remove a smaller parcel from within the Medium Flat

Rate Priority Parcel before disposing of the Medium Flat Rate Priority Parcel.
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8. Later, the USPS OIG agents confronted Kauhane as he exited the
facility. Kauhane had the smaller parcel in his backpack and had marijuana (which
appeared to have come from within the smaller parcel) in his lunch cooler. An
agent also retrieved the Medium Flat Rate Priority Parcel that Kauhane had
disposed of within the facility.

9. Kauhane was interviewed in a non-custodial setting. During the
interview, Kauhane admitted to stealing numerous marijuana parcels that he knew
were en route to the USPIS. Kauhane could not specifically recall the tracking
numbers of these parcels or dates the thefts occurred on.

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CONCLUSION
10. Based on the foregoing facts, I respectfully submit that probable cause
exists to believe that CHAD KAUHANE, the defendant, committed the
aforementioned offense.

Respectfully submitted,

Barrett Nakachi

Special Agent

United Stated Postal Service
Office of the Inspector General

This Criminal Complaint and Affidavit in support thereof were
presented to, approved by, and probable to believe that the defendant
above-named committed the charged crime found to exist by the
undersigned Judicial Officer at /AZ@ on Me leuehor 5 , 2019.

Subscribed and sworn to before me,
this -S th day of November, 2019.

 

 
